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                      UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF ILLINOIS
                             URBANA DIVISION
____________________________________________________________________________
UNITED STATES OF AMERICA,                 )
                                          )
                  Plaintiff,              )
      v.                                  )     Case No. 23-CR-20038
                                          )
 BREANEA BROWN,                           )
                                          )
                  Defendant.              )

       ORDER APPROVING MAGISTRATE JUDGE RECOMMENDATION

       On February 28, 2024, a Report and Recommendation (#18) was filed by United

States Magistrate Judge Eric I. Long in the above cause. More than fourteen (14) days

have elapsed and no objections have been made. This court therefore accepts the

recommendation of the Magistrate Judge. Accordingly, Defendant’s plea of guilty as to

Count 1 of the Indictment (#1) is accepted and Defendant is adjudged guilty on that

count. The court orders that a pre-sentence investigation is to be prepared. A

sentencing hearing remains set for July 1, 2024, at 3:00 pm before this court.

                     ENTERED this 22nd day of March, 2024.


                                  s/ COLIN S. BRUCE
                                 U.S. DISTRICT JUDGE
